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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §   CRIMINAL NO. H-09-296
                                                 §
                                                 §
GABRIEL GUZMAN-VILLA, et al.                     §


                                          ORDER

       The defendant, Amancio Aburto-Gamino filed an unopposed motion for continuance.

(Docket Entry No. 101). The co-defendants are unopposed to the continuance. The court

finds that the interests of justice are served by granting this continuance and that those

interests outweigh the interests of the public and the defendants in a speedy trial. The motion

for continuance is GRANTED. The docket control order is amended as follows:

       Motions are to be filed by:                   July 26, 2010
       Responses are to be filed by:                 August 6, 2010
       Pretrial conference is reset to:              August 10, 2010, at 8:45 a.m.
       Jury trial and selection are reset to:        August 23, 2010, at 9:00 a.m.


              SIGNED on May 21, 2010, at Houston, Texas.

                                                ______________________________________
                                                           Lee H. Rosenthal
                                                      United States District Judge
